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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF KENTUCKY
                      BOWLING GREEN DIVISION
________________________________________________________________
                                       )
JOSEPH KELLAR                          )
                                       )
                 PLAINTIFF             ) Civil Action No. 1:17cv-00005-GNS
v.                                               ) JUDGE GREG N. STIVERS
                                       )
MH EQUIPMENT CORPORATION and           )
MH EQUIPMENT OHIO LLC                  )
                                       )
                 DEFENDANTS            )
_____________________________________________________________


                                SCHEDULING ORDER


       A telephonic scheduling conference was conducted in this action on May 11,

2017, with the undersigned presiding. Participating in the conference were Mr. Timothy

L. Stevenson for the Plaintiff and Mr. Harlan E. Judd, III, for the Defendants.

       The Court has reviewed the joint report submitted by the parties of their proposed

litigation plan, has considered the statements by counsel during the conference, and

pursuant to Fed. R. Civ. P. 16, does HEREBY ORDER AND ADJUDGE AS

FOLLOWS:

       (1)    No later than May 11, 2017, counsel for the parties shall have made all

initial disclosures required of Fed. R. Civ. P. 26(a)(1). The parties are under a continuing

duty to supplement their disclosures and responses as required by Rule 26(e) whenever

necessary during the entire course of this litigation. Supplementations shall be made

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within thirty days of first learning of the need to supplement, but no later than thirty

days prior to the end of discovery.

               The parties are hereby informed that no witness not previously

disclosed as one likely to have discoverable information under Fed. R. Civ. P.

26(a)(1)(A)(i), and no exhibit which has not been provided under Fed. R. Civ. P.

26(a)(1)(A)(ii), shall be allowed on the final witness and exhibit list, unless the

failure was substantially justified or is harmless. The Court will order the filing of

final witness and exhibit lists when this case is set for trial.

       (2)     No later than February 16, 2018, counsel for the Plaintiff shall disclose

the identity of any person who may be used at trial to provide expert testimony under

Fed. R. Civ. P. 26(a)(2)(A) and shall submit written reports from any expert witnesses

who are retained or specially employed as required by Fed. R. Civ. P. 26(a)(2)(B).

       (3)     No later than March 30, 2018, counsel for the Defendants shall disclose

the identity of any person who may be used at trial to provide expert testimony under

Fed. R. Civ. P. 26(a)(2)(A) and shall submit written reports from any expert witnesses

who are retained or specially employed as required by Fed. R. Civ. P. 26(a)(2)(B).

       (4)     No later than January 2, 2018, the parties shall file all motions to join

additional parties. All motions to amend the pleadings shall be filed by the parties no

later than January 2, 2018.

       (5)     No later than February 16, 2018, the parties shall complete all pretrial

fact discovery. The discovery depositions of all expert witnesses shall be completed no
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later than April 30, 2018. All written discovery requests shall be submitted to the

opposing parties so that the due date is in advance of the discovery deadline. The

limitations placed on discovery by the parties as set out in their joint report are hereby

adopted by the Court. Motions pertaining to unresolved discovery and scheduling

disputes may not be filed without first having a joint telephonic conference with the

Magistrate Judge arranged through his courtroom deputy, Kelly Lovell, at 270-393-

2507, or kelly_lovell@kywd.uscourts.gov.               Any agreed amendments to the

Scheduling Order shall be submitted to the Court in the form of an agreed order.

ALL MOTIONS PERTAINING TO DISCOVERY SHALL BE FILED NO LATER

THAN FIFTEEN (15) DAYS AFTER THE CLOSE OF ALL DISCOVERY.

              Non-waiver of attorney-client privilege or work-product protection.

Pursuant to Fed. R. Evid. 502(d), neither the attorney-client privilege nor work-product

protection are waived by disclosure connected with this litigation. Further, the disclosure

in this action shall not operate as a waiver in any other federal or state proceeding. As

defined in Fed. R. Evid. 502(g), “attorney-client privilege” means the protection that

applicable law provides for confidential attorney-client communications; and “work-

product protection” means the protection that applicable law provides for tangible

material (or its intangible equivalent) prepared in anticipation of litigation or for trial.

              Unless otherwise agreed to by counsel, the use of all deposition testimony

shall be governed by Fed. R. Civ. P. 32, and all depositions taken for trial purposes only

shall be completed not later than 60 days prior to trial.
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       (6)      No later than May 31, 2018, counsel for the parties shall file all

dispositive motions. This same date is the filing deadline for motions related to the

admissibility of expert testimony pursuant to Federal Rule of Evidence 702 (Daubert

motions).

       (7)      All other limitations set forth in the Report of Parties’ Planning Meeting

(DN 12), to the extent they are not inconsistent with this Order, are incorporated herein.

       (8)      In the event discovery is completed and neither party anticipates filing

dispositive motions, or in the event no dispositive motions are filed by the deadline,

counsel shall notify the Magistrate Judge’s Courtroom Deputy and the case will be set for

a status conference. Upon resolution of any dispositive motions which are filed, the court

will enter appropriate orders regarding the scheduling of this case toward final resolution,

if necessary.

       (9)      Upon request, the Court will set this matter for a settlement conference

before the Magistrate Judge.

       (10)     A telephonic status conference shall be conducted on May 7, 2018,

commencing at 9:00 a.m., CDT.         The call will be initiated by the Court. If the parties

agree to amendment of the deadlines established by this or any subsequent

scheduling order, they may tender an agreed order. Agreed orders may not extend

deadlines “in general” or “until further orders of the court,” and must contain

specific deadlines dates.



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         ENTERED this May 11, 2017




Copies to:    Counsel of Record


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